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]_N THE UNITED STATES DISTRICT COURT ' ` }/Z/-

FOR THE WESTERN DISTRICT OF TENN ESSE_E _ ij _ .__1: ` _
EASTERN DIVISION 1 1 . 1 1

 

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UNITED STATES OF AMERICA …1 1153 m 1111.11»1'1*11

CHRISTOPHER M. WALDEN 04cr20460-B

 

ORDER ON ARRAIGNMENT

This cause came to be heard on1 M'§? 21 § ZQQ § the United States Attorney
for this district appeared on behalf of the govern ent, and the defendant appeared in person and with

counsel:
NAME t_,/J¢ %J §é€ _/ who is Retainede_ppp_i_n_te_c_i_.__

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions Shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District .Tudge, such period is extended

The defendant, Who` 1s not in custody, may stand on his resent bond.
:L/_The defendant (not having made bond) (being a eprisoner) (being a federal
prisoner) (being held Without bo pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
f._
g /%/)¢1/15 fiij

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:471
UTTERS COUNTERFEIT OBLIGATIONS

Attorney assigned to Case: T. DiScenza

Age: 35

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

ENNESSEE

 

Timothy R. DiScenZa

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Honorable .l. Breen
US DISTRICT COURT

